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Preventing Abuses of the Legal System and the Federal
Court
   whitehouse.gov/presidential-actions/2025/03/preventing-abuses-of-the-legal-system-and-the-federal-court

                                                                                                      March 22, 2025




MEMORANDUM FOR THE ATTORNEY GENERAL

THE SECRETARY OF HOMELAND SECURITY


SUBJECT:         Preventing Abuses of the Legal System and the Federal Court


Lawyers and law firms that engage in actions that violate the laws of the United States or
rules governing attorney conduct must be efficiently and effectively held accountable.
 Accountability is especially important when misconduct by lawyers and law firms threatens
our national security, homeland security, public safety, or election integrity.

Recent examples of grossly unethical misconduct are far too common. For instance, in
2016, Marc Elias, founder and chair of Elias Law Group LLP, was deeply involved in the
creation of a false “dossier” by a foreign national designed to provide a fraudulent basis for
Federal law enforcement to investigate a Presidential candidate in order to alter the outcome
of the Presidential election. Elias also intentionally sought to conceal the role of his client —
failed Presidential candidate Hillary Clinton — in the dossier.



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The immigration system — where rampant fraud and meritless claims have supplanted the
constitutional and lawful bases upon which the President exercises core powers under
Article II of the United States Constitution — is likewise replete with examples of
unscrupulous behavior by attorneys and law firms. For instance, the immigration bar, and
powerful Big Law pro bono practices, frequently coach clients to conceal their past or lie
about their circumstances when asserting their asylum claims, all in an attempt to circumvent
immigration policies enacted to protect our national security and deceive the immigration
authorities and courts into granting them undeserved relief. Gathering the necessary
information to refute these fraudulent claims imposes an enormous burden on the Federal
Government. And this fraud in turn undermines the integrity of our immigration laws and the
legal profession more broadly — to say nothing of the undeniable, tragic consequences of
the resulting mass illegal immigration, whether in terms of heinous crimes against innocent
victims like Laken Riley, Jocelyn Nungaray, or Rachel Morin, or the enormous drain on
taxpayer resources intended for Americans.

Federal Rule of Civil Procedure 11 prohibits attorneys from engaging in certain unethical
conduct in Federal courts. Attorneys must not present legal filings “for improper purpose[s],”
including “to harass, cause unnecessary delay, or needlessly increase the cost of litigation.”
FRCP 11(b)(1). Attorneys must ensure that legal arguments are “warranted by existing law
or by a nonfrivolous argument for extending, modifying, or reversing existing law or for
establishing new law.” FRCP 11(b)(2). And attorneys must ensure that their statements
about facts are “reasonably based” on evidentiary support, or a belief that such evidence
actually exists. FRCP 11(b)(3)-(b)(4). When these commands are violated, opposing parties
are authorized to file a motion for sanctions. FRCP 11(c). The text of the rule specifically
addresses and provides for sanctions for attorneys and their firms as well as for recalcitrant
parties given the solemn obligation that attorneys have to respect the rule of law and uphold
our Nation’s legal system with integrity. Furthermore, Rule 3.1 of the Model Rules of
Professional Conduct provides that, “A lawyer shall not bring or defend a proceeding, or
assert or controvert an issue therein, unless there is a basis in law and fact for doing so that
is not frivolous, which includes a good faith argument for an extension, modification or
reversal of existing law.”

Unfortunately, far too many attorneys and law firms have long ignored these requirements
when litigating against the Federal Government or in pursuing baseless partisan attacks. To
address these concerns, I hereby direct the Attorney General to seek sanctions against
attorneys and law firms who engage in frivolous, unreasonable, and vexatious litigation
against the United States or in matters before executive departments and agencies of the
United States.

I further direct the Attorney General and the Secretary of Homeland Security to prioritize
enforcement of their respective regulations governing attorney conduct and discipline. See,
e.g., 8 C.F.R. 292.1 et seq.; 8 C.F.R. 1003.101 et seq.; 8 C.F.R. 1292.19.


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I further direct the Attorney General to take all appropriate action to refer for disciplinary
action any attorney whose conduct in Federal court or before any component of the Federal
Government appears to violate professional conduct rules, including rules governing
meritorious claims and contentions, and particularly in cases that implicate national security,
homeland security, public safety, or election integrity. In complying with this directive, the
Attorney General shall consider the ethical duties that law partners have when supervising
junior attorneys, including imputing the ethical misconduct of junior attorneys to partners or
the law firm when appropriate.

I further direct that, when the Attorney General determines that conduct by an attorney or law
firm in litigation against the Federal Government warrants seeking sanctions or other
disciplinary action, the Attorney General shall, in consultation with any relevant senior
executive official, recommend to the President, through the Assistant to the President for
Domestic Policy, additional steps that may be taken, including reassessment of security
clearances held by the attorney or termination of any Federal contract for which the relevant
attorney or law firm has been hired to perform services.

I further direct the Attorney General, in consultation with any relevant senior executive
official, to review conduct by attorneys or their law firms in litigation against the Federal
Government over the last 8 years. If the Attorney General identifies misconduct that may
warrant additional action, such as filing frivolous litigation or engaging in fraudulent practices,
the Attorney General is directed to recommend to the President, through the Assistant to the
President for Domestic Policy, additional steps that may be taken, including reassessment of
security clearances held by the attorney, termination of any contract for which the relevant
attorney or law firm has been hired to perform services, or any other appropriate actions.

Law firms and individual attorneys have a great power, and obligation, to serve the rule of
law, justice, and order. The Attorney General, alongside the Counsel to the President, shall
report to the President periodically on improvements by firms to capture this hopeful vision.




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